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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,                         CASE NO: 09-20023-01

v.                                        DISTRICT JUDGE THOMAS L. LUDINGTON
                                          MAGISTRATE JUDGE CHARLES E. BINDER
BRIAN DENARD COLEMAN,

       Defendant.
                                    /


                  MAGISTRATE JUDGE’S REPORT, FINDINGS AND
                RECOMMENDATION CONCERNING PLEA OF GUILTY


I.     REPORT AND FINDINGS

       On August 25, 2009, the case was referred to the undersigned Magistrate Judge pursuant

to 28 U.S.C. §§ 636(b)(1(B) and 636(b)(3) for purposes of receiving, on consent of the parties,

Defendant’s offer of a plea of guilty. The Defendant, along with counsel, appeared before me

on August 25, 2009. In open court I examined the Defendant under oath, confirmed the

Defendant’s consent, and then advised and questioned the Defendant regarding each of the

inquiries prescribed by Rule 11(b) of the FEDERAL RULES OF CRIMINAL PROCEDURE. Based

upon the Defendant’s answers and demeanor, I HEREBY FIND 1) that the Defendant is

competent to tender a plea, 2) that Defendant’s plea was knowingly, intelligently made, and 3)

that the offense(s) to which he pled are supported by an independent basis in fact containing

each of the essential elements of the offense(s). Therefore, I have ordered the preparation of a

presentence investigation report.
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II.      RECOMMENDATION

         For the reasons set forth above, IT IS RECOMMENDED that subject to the Court’s

consideration of the plea agreement pursuant to Rule 11(c) of the FEDERAL RULES OF

CRIMINAL PROCEDURE, the Defendant be adjudged guilty and have sentence imposed.



III.     REVIEW

         The parties to this action may object to and seek review of this Report and

Recommendation within ten (10) days of service of a copy hereof as provided for in 28 U.S.C.

§ 636(b)(1). Failure to file specific objections constitutes a waiver of any further right of

appeal. Thomas v. Arn, 474 U.S. 140, 106 S. Ct. 466, 88 L. Ed.2d 435 (1985); Frontier Ins.

Co. v. Blaty, 454 F.3d 590, 596 (6th Cir. 2006); United States v. Sullivan, 431 F.3d 976, 984

(6th Cir. 2005). The parties are advised that making some objections, but failing to raise

others, will not preserve all the objections a party may have to this Report and

Recommendation. McClanahan v. Comm’r of Social Security, 474 F.3d 830, 837 (6th Cir.

2006); Frontier Ins. Co., 454 F.3d at 596-97. Pursuant to E.D. Mich. LR 72.1(d)(2), a copy of

any objections is to be served upon this Magistrate Judge.



                                                       C
                                                    s/ harles`   EB   inder
                                                   CHARLES E. BINDER
Dated: August 26, 2009                             United States Magistrate Judge


                                         CERTIFICATION

       I hereby certify that this Report and Recommendation was electronically filed this date,
electronically served on Janet Parker and Arnold Weiner, and served on District Judge
Ludington in the traditional manner.

Date: August 26, 2009                By    s/Jean L. Broucek
                                     Case Manager to Magistrate Judge Binder
